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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


___________________________________
                                                         Civ. Action No. 0:19-CV-00968
ARCHITECTURAL BUSSTRUT                                                       DSD-ECW
CORPORATION d/b/a busSTRUT,

       Plaintiff,
                                                     DEFENDANT TARGET
       vs.                                         CORPORATION’S ANSWER
                                                     AND COUNTERCLAIM
TARGET CORPORATION,

      Defendant.
___________________________________

       Comes now Target Corporation (“Target”), and as and for its Answer to

Architectural Busstrut Corporation d/b/a busSTRUT’s (“busSTRUT”) Complaint and

Counterclaim, states and alleges as follows:

                                        ANSWER

       Target denies each and every allegation, matter, and thing alleged in busSTRUT’s

Complaint, including the section headings contained therein, unless hereinafter

specifically admitted or otherwise qualified.

                                   INTRODUCTION

       1.     Target denies the allegations contained in Paragraph 1 of busSTRUT’s

Complaint.

       2.     Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 2 and Footnote 1 of busSTRUT’s

Complaint, and therefore denies them and puts busSTRUT to its burden of proof.
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       3.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 3 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       4.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 4 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       5.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 5 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       6.    Target affirmatively alleges that beginning in 2015 it engaged in

negotiations with busSTRUT about the possibility of working with busSTRUT. To the

extent the allegations contained in Paragraph 6 of busSTRUT’s Complaint are in any way

inconsistent with or contrary to the affirmative allegations contained herein, or are

otherwise not addressed herein, Target denies the same and puts busSTRUT to its burden

of proof.

       7.    Target affirmatively alleges that on or about September 30, 2015, Target

and busSTRUT entered into the Target Corporation Supplier Qualification Agreement for

Goods and Services (the “SQA”) (attached as Exhibit A to busSTRUT’s Complaint),

affirmatively alleges that on or about November 19, 2015, Target and busSTRUT entered

into the Target Corporation Program Agreement for Goods and Services (the “Program

Agreement”) (attached as Exhibit B to busSTRUT’s Complaint), affirmatively alleges

that on or about November 11, 2016, Target and busSTRUT entered into Amendment

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Number 1 to Program Agreement for Goods and Services (“Amendment No. 1”)

(attached as Exhibit D to busSTRUT’s Complaint), affirmatively alleges that the SQA,

the Program Agreement and Amendment No. 1 are hereinafter collectively referred to as

the “Agreement”, and further affirmatively alleges that the Agreement speaks for itself.

To the extent the allegations contained in Paragraph 7 of busSTRUT’s Complaint are in

any way inconsistent with or contrary to the affirmative allegations contained herein, or

are otherwise not addressed herein, Target denies the same and puts busSTRUT to its

burden of proof.

      8.     Target affirmatively alleges that the Agreement, as defined in Paragraph 7,

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 8

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      9.     Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 9

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      10.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 10

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative



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allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      11.    Target denies the allegations contained Paragraph 11 and Footnote 2 of

busSTRUT’s Complaint.

      12.    The allegations contained in Paragraph 12 of busSTRUT’s Complaint

appear to be legal contentions or legal conclusions to which no response is required. To

the extent any response is required, however, Target denies the allegations and puts

busSTRUT to its burden of proof.

      13.    The allegations contained in Paragraph 13 of busSTRUT’s Complaint

appear to be legal contentions or legal conclusions to which no response is required. To

the extent any response is required, however, Target denies the allegations and puts

busSTRUT to its burden of proof.

                                       PARTIES

      14.    Target admits the allegations contained in Paragraph 14 of busSTRUT’s

Complaint.

      15.    Target admits the allegations contained in Paragraph 15 of busSTRUT’s

Complaint.

                           JURISDICTION AND VENUE

      16.    Target admits the allegations contained in Paragraph 16 of busSTRUT’s

Complaint.

      17.    Target affirmatively alleges that this Court has personal jurisdiction over it.

To the extent the allegations contained in Paragraph 17 of busSTRUT’s Complaint are in

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any way inconsistent with or contrary to the affirmative allegations contained herein, or

are otherwise not addressed herein, Target denies the same and puts busSTRUT to its

burden of proof.


       18.   Target affirmatively alleges venue is proper in this Court pursuant to 28

U.S.C. §1391(b). To the extent the allegations contained in Paragraph 18 are in any way

inconsistent with or contrary to the affirmative allegations contained herein, or are

otherwise not addressed herein, Target denies the same and puts busSTRUT to its burden

of proof.

                             FACTUAL BACKGROUND

       19.   Target admits the allegations contained in Paragraph 19 of busSTRUT’s

Complaint.

       20.   Target admits the allegations contained in Paragraph 20 of busSTRUT’s

Complaint.

       21.   Target affirmatively alleges that the press releases and statements

referenced in Paragraph 21 of busSTRUT’s Complaint speak for themselves. To the

extent the allegations contained in Paragraph 21 are in any way inconsistent with or

contrary to the affirmative allegations contained herein, or are otherwise not addressed

herein, Target denies the same and puts busSTRUT to its burden of proof.

       22.   Target affirmatively alleges that the press releases and statements

referenced in Paragraph 22 of busSTRUT’s Complaint speak for themselves. To the

extent the allegations contained in Paragraph 22 are in any way inconsistent with or


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contrary to the affirmative allegations contained herein, or are otherwise not addressed

herein, Target denies the same and puts busSTRUT to its burden of proof.

       23.    Target affirmatively alleges that it has been and is remodeling many of its

locations.   To the extent the allegations contained in Paragraph 23 are in any way

inconsistent with or contrary to the affirmative allegations contained herein, or are

otherwise not addressed herein, Target denies the same and puts busSTRUT to its burden

of proof.

       24.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 24 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       25.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 25 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       26.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 26 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       27.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 27 and Footnote 3 of busSTRUT’s

Complaint, and therefore denies them and puts busSTRUT to its burden of proof.

       28.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 28 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

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      29.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 29 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

      30.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 30

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      31.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 31

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      32.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 32

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      33.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 33

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative



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allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

       34.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 34

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

       35.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 35

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

       36.    Target affirmatively alleges that the Request for Proposal referenced in

Paragraph 36 of busSTRUT’s Complaint speaks for itself.1 To the extent the allegations

contained in Paragraph 36 of busSTRUT’s Complaint are in any way inconsistent with or

contrary to the affirmative allegations contained herein, or are otherwise not addressed

herein, Target denies the same and puts busSTRUT to its burden of proof.

       37.    Target affirmatively alleges that the November 2, 2016 email referenced in

Paragraph 37 and attached as Exhibit C to busSTRUT’s Complaint speaks for itself. To

the extent the allegations contained in Paragraph 37 are in any way inconsistent with or

1
 It appears that Paragraph 36 is also supposed to contain Footnote 4. However, such footnote is
not contained in busSTRUT’s Complaint. Despite this, to the extent a response is required,
Target denies the allegations contain in Footnote 4 of BusSTRUT’s Complaint.
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contrary to the affirmative allegations contained herein, or are otherwise not addressed

herein, Target denies the same and puts busSTRUT to its proof.

       38.    Target denies the allegations contained in Paragraph 38 of busSTRUT’s

Complaint.

       39.    Target denies the allegations contained in Paragraph 39 of busSTRUT’s

Complaint.

       40.    Target affirmatively alleges that Target and busSTRUT’s relationship is

governed by the terms of the Agreement, as defined in Paragraph 7 of this Answer. To

the extent the allegations contained in Paragraph 40 are in any way inconsistent with or

contrary to the affirmative obligations contained herein, or otherwise not addressed

herein, Target denies the same and puts busSTRUT to its burden of proof.

       41.    Target denies the allegations contained in the first sentence of Paragraph 41

of busSTRUT’s Complaint. Target is without sufficient knowledge or information to

form a belief as to the truth of the allegations contained in the second sentence of

Paragraph 41 of busSTRUT’s Complaint, and therefore denies them and puts busSTRUT

to its burden of proof.

       42.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 42

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.



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      43.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 43

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      44.    The November 10, 2016 email attached as Exhibit E to busSTRUT’s

Complaint speaks for itself. To the extent the allegations contained in Paragraph 44 are

in any way inconsistent with or contrary to the affirmative allegations contained herein,

or are otherwise not addressed herein, Target denies the same and puts busSTRUT to its

burden of proof.

      45.    The November 10, 2016 email attached as Exhibit E to busSTRUT’s

Complaint speaks for itself. To the extent the allegations contained in Paragraph 45 are

in any way inconsistent with or contrary to the affirmative allegations contained herein,

or are otherwise not addressed herein, Target denies the same and puts busSTRUT to its

burden of proof.

      46.    The November 11, 2016 email attached as Exhibit F to busSTRUT’s

Complaint speaks for itself. To the extent the allegations contained in Paragraph 46 are

in any way inconsistent with or contrary to the affirmative allegations contained herein,

or are otherwise not addressed herein, Target denies the same and puts busSTRUT to its

burden of proof.

      47.    Target denies the allegations contained in Paragraph 47 of busSTRUT’s

Complaint.

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      48.    Target denies the allegations contained in Paragraph 48 of busSTRUT’s

Complaint.

      49.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 49

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      50.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 50

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      51.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 51

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      52.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 52

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

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      53.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 53

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      54.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 54

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      55.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 55

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      56.    Target denies the allegations contained in Paragraph 56 of busSTRUT’s

Complaint.

      57.    Target denies the allegations contained in the first sentence of Paragraph 57

of busSTRUT’s Complaint. Target is without sufficient knowledge or information to

form a belief as to the truth of the allegations contained in the second sentence of

Paragraph 57 of busSTRUT’s Complaint, and therefore denies the allegations and puts

busSTRUT to its burden of proof.

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       58.    Target denies the allegations in Paragraph 58 of busSTRUT’s Complaint.

       59.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 59 of busSTRUT’s Complaint, and

therefore denies them and puts busSTRUT to its burden of proof.

       60.    With respect to the first and second sentences of Paragraph 60 of Plaintiff’s

Complaint, Target affirmatively alleges that the “plans” and “schedules” referenced

therein speak for themselves. To the extent the allegations contained in the first and

second sentences of Paragraph 60 are in any way inconsistent with or contrary to the

affirmative allegations contained herein, or are otherwise not addressed herein, Target

denies the same and puts busSTRUT to its burden of proof. Target is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained in

the third sentence of Paragraph 60 of busSTRUT’s Complaint, and therefore denies them

and puts busSTRUT to its burden of proof.

       61.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in the first, second and third sentences of Paragraph

61 of busSTRUT’s Complaint and Footnotes 5 and 6, and therefore denies them and puts

busSTRUT to its burden of proof. Target denies the allegations contained in the fourth

sentence of Paragraph 61 of busSTRUT’s Complaint.

       62.    Target is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in the first, second and third sentences of Paragraph

62 of busSTRUT’s Complaint, and therefore denies them and puts busSTRUT to its



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burden of proof.    Target denies the allegations contained in the fourth sentence of

Paragraph 62 of busSTRUT’s Complaint.

       63.    Target denies the allegations contained in Paragraph 63 of busSTRUT’s

Complaint.

       64.    Target denies the allegations contained in the first sentence of Paragraph 64

and Footnote 7 of busSTRUT’s Complaint. Target is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained in the second and

third sentences of Paragraph 64 of busSTRUT’s Complaint, and therefore denies them

and puts busSTRUT to its burden of proof.

       65.    The May 1, 2018 email referenced in Paragraph 65 speaks for itself. To the

extent the allegations contained in Paragraph 65 and Footnote 8 are in any way

inconsistent with or contrary to the affirmative allegations contained herein, or are

otherwise not addressed herein, Target denies the same and puts busSTRUT to its burden

of proof.

       66.    The emails referenced in Paragraph 66 of busSTRUT’s Complaint speak

for themselves. To the extent the allegations contained in Paragraph 66 are in any way

inconsistent with or contrary to the affirmative allegations contained herein, or are

otherwise not addressed herein, Target denies the same and puts busSTRUT to its burden

of proof.

       67.    Target denies the allegations contained in Paragraph 67 of busSTRUT’s

Complaint.



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       68.    Target denies the allegations contained in Paragraph 68 of busSTRUT’s

Complaint.


       69.    Target denies the allegations contained in Paragraph 69 of busSTRUT’s

Complaint.

                                     COUNT ONE

       70.    Target affirmatively realleges each and every allegation, statement and

thing set forth above.

       71.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 71

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

       72.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 72

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

       73.    Target denies the allegations contained in Paragraph 73 of busSTRUT’s

Complaint.

       74.    Target denies the allegations contained in Paragraph 74 of busSTRUT’s

Complaint.


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       75.    Target denies the allegations contained in Paragraph 75 of busSTRUT’s

Complaint.

       76.    Target denies the allegations contained in Paragraph 76 of busSTRUT’s

Complaint.

       77.    Target denies the allegations contained in Paragraph 77 of busSTRUT’s

Complaint.

       78.    The allegations contained in Paragraph 78 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

                                     COUNT TWO

       79.    Target affirmatively realleges each and every allegation, statement and

thing set forth above.

       80.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 80

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

       81.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 81

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative



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allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      82.    Target denies the allegations contained in Paragraph 82 of busSTRUT’s

Complaint.

      83.    The allegations contained in Paragraph 83 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

      84.    Target denies the allegations contained in Paragraph 84 of busSTRUT’s

Complaint.

      85.    Target affirmatively alleges that the Agreement, as defined in Paragraph 7

of this Answer, speaks for itself. To the extent the allegations contained in Paragraph 85

of busSTRUT’s Complaint are in any way inconsistent with or contrary to the affirmative

allegations contained herein, or are otherwise not addressed herein, Target denies the

same and puts busSTRUT to its burden of proof.

      86.    Target denies the allegations contained in Paragraph 86 of busSTRUT’s

Complaint.

      87.    Target denies the allegations contained in Paragraph 87 of busSTRUT’s

Complaint.

      88.    Target denies the allegations contained in Paragraph 88 of busSTRUT’s

Complaint.



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       89.    Target denies the allegations contained in Paragraph 89 of busSTRUT’s

Complaint.

       90.    Target denies the allegations contained in Paragraph 90 of busSTRUT’s

Complaint.

       91.    Target denies the allegations contained in Paragraph 91 of busSTRUT’s

Complaint.

       92.    The allegations contained in Paragraph 92 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

                                   COUNT THREE

       93.    Target affirmatively realleges each and every allegation, statement and

thing set forth above.

       94.    The allegations contained in Paragraph 94 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

       95.    Target denies the allegations contained in Paragraph 95 of busSTRUT’s

Complaint.

       96.    Target denies the allegations contained in Paragraph 96 of busSTRUT’s

Complaint.



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       97.    Target denies the allegations contained in Paragraph 97 of busSTRUT’s

Complaint.

       98.    Target denies the allegations contained in Paragraph 98 of busSTRUT’s

Complaint.

       99.    Target denies the allegations contained in Paragraph 99 of busSTRUT’s

Complaint.

       100.   The allegations contained in Paragraph 100 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

                                    COUNT FOUR

       101.   Target affirmatively realleges each and every allegation, statement and

thing set forth above.

       102.   The allegations contained in Paragraph 102 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

       103.   Target denies the allegations contained in Paragraph 103 of busSTRUT’s

Complaint.

       104.   Target denies the allegations contained in Paragraph 104 of busSTRUT’s

Complaint.



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       105.   Target denies the allegations contained in Paragraph 105 of busSTRUT’s

Complaint.

       106.   Target denies the allegations contained in Paragraph 106 of busSTRUT’s

Complaint.

       107.   Target denies the allegations contained in Paragraph 107 of busSTRUT’s

Complaint.

       108.   Target denies the allegations contained in Paragraph 108 of busSTRUT’s

Complaint.

       109.   The allegations contained in Paragraph 109 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

                                    COUNT FIVE

       110.   Target affirmatively realleges each and every allegation, statement and

thing set forth above.

       111.   The allegations contained in Paragraph 111 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

       112.   Target denies the allegations contained in Paragraph 112 of busSTRUT’s

Complaint.



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       113.   Target denies the allegations contained in Paragraph 113 of busSTRUT’s

Complaint.

       114.   Target denies the allegations contained in Paragraph 114 of busSTRUT’s

Complaint.

       115.   Target denies the allegations contained in Paragraph 115 of busSTRUT’s

Complaint.

       116.   Target denies the allegations contained in Paragraph 116 of busSTRUT’s

Complaint.

       117.   Target denies the allegations contained in Paragraph 117 of busSTRUT’s

Complaint.

       118.   Target denies the allegations contained in Paragraph 118 of busSTRUT’s

Complaint.

       119.   Target affirmatively realleges each and every allegation, statement and

thing set forth above.

       120.   Target denies the allegations contained in Paragraph 120 of busSTRUT’s

Complaint.

       121.   The allegations contained in Paragraph 121 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.

       122.   The allegations contained in Paragraph 122 of busSTRUT’s Complaint

appear to be legal contentions and/or legal conclusions to which no responsive pleading

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is required. To the extent any response is required, however, Target denies them and puts

busSTRUT to its burden of proof.



                                 AFFIRMATIVE DEFENSES

       As and for its affirmative defenses in the above-referenced matter, Target hereby

states and alleges as follows:

       1.     Target affirmatively alleges that busSTRUT’s Complaint fails to state a

claim upon which relief can be granted.

       2.     Target affirmatively states that busSTRUT’s Complaint is barred by the

clear, unambiguous and express terms of the Agreement, as defined in Paragraph 7 of this

Answer.

       3.     Target affirmatively states that busSTRUT is estopped from maintaining its

Complaint by the clear, unambiguous and express terms of the Agreement, as defined in

Paragraph 7 of this Answer.

       4.     Target affirmatively states that busSTRUT’s Complaint is barred by the

equitable doctrines of waiver, estoppel and ratification.

       5.     Target affirmatively states that busSTRUT’s Complaint is barred because

busSTRUT has failed to suffer any damages and/or failed to mitigate its damages, if any.

       6.     Target affirmatively states that busSTRUT’s Complaint is barred because

of busSTRUT’s prior and continuing breaches of contract, as more fully described in

Target’s Counterclaim.



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       7.     Target affirmatively alleges that busSTRUT’s Complaint is barred because

Target has at all times acted in good faith.

       8.     Target affirmatively alleges that busSTRUT’s Complaint is barred by the

applicable statute of limitations and/or the limitations period set forth in the Agreement,

as defined in Paragraph 7 of this Answer.

       9.     Target cannot presently determine all of the affirmative defenses which it is

entitled to assert and may later determine that there are additional affirmative defenses

which are applicable in this case, including, but not limited to, those defenses enumerated

or contemplated by the Federal Rules of Civil Procedure. Target hereby reserves the

right to add any additional affirmative defenses to busSTRUT’s Complaint as discovery

in this matter proceeds.

                                    COUNTERCLAIM

       Comes now Target Corporation (“Target”) and as and for its Counterclaim against

Architectural Busstrut Corporation d/b/a busSTRUT (“busSTRUT”), states and alleges as

follows:

                                         PARTIES

       1.     Target is a corporation organized and existing under the laws of the State of

Minnesota, with its principal place of business located at 1000 Nicollet Mall,

Minneapolis, MN 55403.

       2.     busSTRUT is a corporation organized and existing under the laws of the

State of Delaware, with its principal place of business located in Worthington, Ohio.



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                             JURISDICTION AND VENUE

       3.      This Court has jurisdiction over Target’s Counterclaim pursuant to 28

U.S.C. §1332 and 1367 because the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, the claims are between citizens of different

states, and the Counterclaim is so related to the claims raised in busSTRUT’s Complaint

that they form part of the same case or controversy.        Moreover, busSTRUT has

contractually consented to this Court’s jurisdiction.

       4.      Venue is appropriate in this judicial district under 28 U.S.C. §1391 as

Target is located within this judicial district and busSTRUT has waived any objection to

venue in this district.

                              FACTUAL ALLEGATIONS

       5.      On or about September 30, 2015, Target and busSTRUT entered the Target

Corporation Supplier Qualification Agreement for Goods and Services (the “SQA”). A

true and correct copy of the SQA is attached to busSTRUT’s Complaint as Exhibit A and

is incorporated herein by reference.

       6.      Among other things, the SQA established the terms and conditions for

busSTRUT to be qualified to provide non-retail merchandise to Target.

       7.      On or about November 19, 2015, Target and busSTRUT entered into the

Target Corporation Program Agreement for Goods and Services (the “Program

Agreement”).      A true and correct copy of the Program Agreement is attached to

busSTRUT’s Complaint as Exhibit B and is incorporated herein by reference.



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         8.    Among other things, the Program Agreement established the specific

business terms pursuant to which Target could issue orders to busSTRUT for the

purchase of certain lighting materials.

         9.    Thereafter, on or about November 11, 2016, Target and busSTRUT entered

into Amendment Number 1 to Program Agreement for Goods and Services

(“Amendment No. 1”), which amended certain terms of the Program Agreement. A true

and correct copy of Amendment No. 1 is attached to busSTRUT’s Complaint as Exhibit

D and is incorporated herein by reference.

         10.   The SQA, the Program Agreement, and Amendment No. 1 are hereinafter

collectively referred to as the “Agreement.”

         11.   Pursuant to the Agreement, busSTRUT agreed to charge Target for any

goods ordered at the prices specifically set forth in the Agreement, and agreed to transmit

all invoices to Target through the Ariba Supplier Network technology platform. Target,

in turn, agreed to pay busSTRUT for the goods on the terms set forth in the Agreement.

         12.   The Agreement does not provide for, nor does it give busSTRUT the right

to charge Target for, any expedited delivery fee or charge.

         13.   The Agreement may not be amended except in a writing that each party

signs.

         14.   Pursuant to the Agreement, busSTRUT agreed that it would reimburse

Target for reasonable attorneys’ fees and expenses relating in any way to the Agreement,

or busSTRUT’s failure to perform as required by the Agreement.



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       15.    busSTRUT breached the Agreement by significantly overcharging Target

for goods delivered under the Agreement.            Specifically, busSTRUT breached the

Agreement by, among other things, submitting invoices charging Target an expedited

cost of $138 per light fixture,2 when the Agreement specifically set the price at $96.29

per light fixture. busSTRUT improperly, and in breach of the Agreement, overcharged

Target by the amount of $41.71 per light fixture on 38,970 light fixtures, resulting in an

overpayment by Target to busSTRUT of $1,625,438.70. Target did not become aware of

busSTRUT’s breach of the Agreement until after payment was made on all of the light

fixtures.

                                    COUNT I
                            BREACH OF THE AGREEMENT

       16.    Target   restates   and   realleges    the   allegations   contained   in   the

paragraphs above as though fully set forth herein.

       17.    busSTRUT is bound by the terms of the Agreement and Target has the right

to enforce the Agreement.

       18.    busSTRUT breached the Agreement by significantly overcharging Target

for goods delivered under the Agreement.            Specifically, busSTRUT breached the

Agreement by, among other things, submitting invoices charging Target an expedited

cost of $138 per light fixture, when the Agreement specifically set the price at $96.29 per

light fixture. busSTRUT improperly, and in breach of the Agreement, overcharged



2
 The “light fixture” is defined in the Agreement as “spot Light including fitter @14317 CBCP”
with Catalog/Part Number BR-MXH-309-USP12-W.
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Target by the amount of $41.71 per light fixture on 38,970 light fixtures, resulting in an

overpayment by Target to busSTRUT of $1,625,438.70.

      19.    The above-described conduct constitutes a breach of the Agreement by

busSTRUT, and as a direct and proximate result of busSTRUT’s breach of the

Agreement, Target has suffered money damages in an amount in excess of $75,000, to be

proven in these proceedings.

                               PRAYER FOR RELIEF

      WHEREFORE, Target respectfully requests that this Court enter judgment in its

favor and against busSTRUT as follows:

      1.     Dismissing busSTRUT’s Complaint against Target in its entirety, with

prejudice and on the merits; and

      2.     As to Target’s Counterclaim: (a) awarding Target its damages against

busSTRUT in an amount in excess of $75,000, the exact amount to be determined in

these proceedings; (b) awarding Target reasonable attorneys’ fees and costs; and

(c) awarding such other and further relief as the Court deems just and equitable under the

circumstances.




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Dated: May 31, 2019                         WINTHROP & WEINSTINE, P.A.

                                            By: s/Matthew R. McBride
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